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                                                          ‌
                        IN‌‌THE‌‌UNITED‌‌STATES‌‌DISTRICT‌‌COURT‌ ‌
                             FOR‌‌THE‌‌DISTRICT‌‌OF‌‌COLUMBIA‌ ‌
                                                          ‌
UNITED‌‌STATES‌‌OF‌‌AMERICA‌                     )‌ ‌
                                                 )‌ ‌
      v.‌                                        )‌         Criminal‌‌No.‌‌21-cr-00035-EGS‌ ‌
                                                 )‌         (Release‌‌Order‌‌21-mj-233)‌ ‌
CLAYTON‌‌RAY‌‌MULLINS,‌                          )‌           ‌
                                                 )‌ ‌
                        Defendant.‌              )‌ ‌
____________________________________)‌ ‌
 ‌
                     MOTION‌‌TO‌‌MODIFY‌‌CONDITIONS‌‌OF‌‌RELEASE‌ ‌
 ‌
      This‌ ‌past‌ ‌week‌ ‌marked‌ ‌three‌ ‌months‌ ‌of‌ ‌Clayton‌ ‌Mullins‌ ‌being‌‌in‌‌full‌‌compliance‌‌with‌‌

the‌‌Court's‌‌Order‌‌Setting‌‌Conditions‌‌of‌‌Release‌‌(ECF‌‌No.‌‌11;‌‌21-mj-233-RMM;‌‌issued‌‌by‌‌Chief‌‌

Judge‌‌Howell‌‌on‌‌March‌‌2,‌‌2021).‌ ‌Through‌‌undersigned‌‌counsel,‌‌Mr.‌‌Mullins‌‌respectfully‌‌moves‌‌

this‌‌Honorable‌‌Court‌‌to‌‌withdraw‌‌the‌‌location‌‌restriction‌‌and‌‌monitoring‌‌conditions‌‌-‌ ‌provisions‌‌

7(p)‌‌and‌‌7(q)‌‌-‌‌from‌‌said‌‌Order.‌ ‌

         Pretrial‌ ‌Services‌ ‌Officer‌ ‌Joshua‌ ‌Rose,‌ ‌who‌ ‌is‌ ‌providing‌ ‌courtesy‌ ‌supervision‌ ‌in‌ ‌the‌‌

Western‌ ‌District‌ ‌of‌ ‌Kentucky‌ ‌-‌ ‌Paducah‌ ‌Division,‌ ‌confirms‌ ‌that‌ ‌this‌ ‌requested‌ ‌modification‌ ‌is‌‌

appropriate‌‌and‌‌does‌‌not‌‌oppose‌‌this‌‌motion.‌ ‌

         Government‌‌counsel‌‌in‌‌Washington,‌‌D.C.‌‌opposes‌‌this‌‌motion.‌ ‌

         The‌ ‌following‌ ‌letters‌ ‌from‌ ‌family‌ ‌and‌ ‌friends‌ ‌confirm‌ ‌a‌ ‌strong‌‌community‌‌of‌‌love‌‌and‌‌

support‌ ‌for‌ ‌Clayton‌ ‌Mullins.‌ ‌These‌ ‌folks‌ ‌vouch‌ ‌for‌ ‌his‌ ‌honesty‌ ‌and‌ ‌reliability‌ ‌to‌ ‌continue‌‌

honoring‌‌the‌‌Court's‌‌Orders.‌ ‌

Family‌‌(Exhibit‌‌A)‌:‌ ‌

         1)‌‌Nancy‌‌Mullins,‌‌Wife‌‌-‌‌Benton,‌‌Kentucky‌ ‌

         2)‌‌Tena‌‌Sisson,‌‌Sister‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌
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        3)‌‌Judy‌‌Skaggs,‌‌Sister‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        4)‌‌Ricky‌‌Dale‌‌Mullins,‌‌Brother‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        5)‌‌Charlotte‌‌Ann‌‌Mullins,‌‌Sister-in-law‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        6)‌‌Angie‌‌Gooch,‌‌Sister-in-law‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        7)‌‌Stephanie‌‌Dawn‌‌Mullins‌‌Richards,‌‌Sister-in-law‌‌-‌‌Paducah,‌‌Kentucky‌ ‌

        8)‌‌Kim‌‌Rogers,‌‌Niece‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        9)‌‌Andy‌‌Spraggs,‌‌Nephew‌‌-‌‌New‌‌Orleans,‌‌Louisiana‌ ‌

Friends‌‌(Exhibit‌‌B)‌:‌ ‌

        1)‌‌Mark‌‌L.‌‌Crawford,‌‌M.D.‌‌-‌‌Paducah,‌‌Kentucky‌ ‌

        2)‌‌Ben‌‌Crawford‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        3)‌‌Pastor‌‌Thomas‌‌Fortner‌‌-‌‌Trenton,‌‌Tennessee‌ ‌

        4)‌‌Pastor‌‌Richard‌‌H.‌‌Heatherly‌‌-‌‌Portland,‌‌Tennessee‌ ‌

        5)‌‌Pastor‌‌Chad‌‌Johnson‌‌-‌‌Russellville,‌‌Kentucky‌ ‌

        6)‌‌Kyle‌‌Clayton‌‌-‌‌Finger,‌‌Tennessee‌ ‌

        7)‌‌Jamey‌‌Clayton‌‌-‌‌Finger,‌‌Tennessee‌ ‌

        8)‌‌David‌‌Baggett‌‌-‌‌Finger,‌‌Tennessee‌ ‌

        9)‌‌Shanda‌‌Abbott‌‌-‌‌Wingo,‌‌Kentucky‌ ‌

        10)‌‌Nicholas‌‌Dempsey‌‌-‌‌Benton,‌‌Kentucky‌ ‌

Friends‌‌(Exhibit‌‌C)‌:‌ ‌

        11)‌‌Robert‌‌Mosley‌‌-‌‌Belton,‌‌South‌‌Carolina‌ ‌

        12)‌‌Billy‌‌Duncan‌‌-‌‌Kentucky‌ ‌

        13)‌‌Rick‌‌Johnson‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌
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        14)‌‌Anita‌‌Parker‌‌-‌‌Kentucky‌ ‌

        15)‌‌Carol‌‌Ramage‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        16)‌‌Dewayne‌‌McKnight‌‌-‌‌Murray,‌‌Kentucky‌ ‌

        17)‌‌Hazel‌‌Brewer‌‌-‌‌Baltimore,‌‌Kentucky‌ ‌

        18)‌‌Richard‌‌Tomlin‌‌-‌‌Center,‌‌Texas‌ ‌

        19)‌‌Johnny‌‌Gossum‌‌-‌‌Columbus,‌‌Kentucky‌ ‌

        20)‌‌Raymond‌‌E.‌‌McAlpin‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

Friends‌‌(Exhibit‌‌D)‌:‌

        21)‌‌Belinda‌‌McCullough‌‌-‌‌Walker,‌‌Louisiana‌‌ ‌

        22)‌‌Layta‌‌Kay‌‌Guthrie‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        23)‌‌Allene‌‌Skulina‌‌-‌‌Bardwell,‌‌Kentucky‌ ‌

        24)‌‌Geneva‌‌Sullivan‌‌Wall‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        25)‌‌Don‌‌R.‌‌Holshouser‌‌-‌‌Mayfield,‌‌Kentucky‌ ‌

        26)‌‌Lori‌‌Bunch‌‌-‌‌Wingo,‌‌Kentucky‌ ‌

        27)‌‌Steven‌‌Bunch‌‌-‌‌Wingo,‌‌Kentucky‌ ‌

        28)‌‌Joe‌‌Bunch‌‌-‌‌Wingo,‌‌Kentucky‌ ‌

        29)‌‌Joshua‌‌H.‌‌Tabers‌‌-‌‌Murray,‌‌Kentucky.‌ ‌

                                                     Respectfully‌‌submitted,‌ ‌

                                                     _________/s/___________‌ ‌
                                                     Pat‌‌Munroe‌‌Woodward,‌‌Esq.,‌‌ ‌
                                                     D.C.‌‌Bar‌‌No.‌‌436662‌ ‌
                                                     1783‌‌Forest‌‌Drive,‌‌No.‌‌330‌ ‌
                                                     Annapolis,‌‌MD‌ ‌21401‌ ‌
                                                     Phone:‌ ‌202-246-4679‌ ‌
                                                     Fax:‌ ‌443-216-9812‌ ‌
                                                     patmwoodwardjr@gmail.com‌ ‌
                                                           ‌
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                                                    ‌
                                       CERTIFICATE‌‌OF‌‌SERVICE‌ ‌
 ‌
         I‌‌hereby‌‌certify‌‌that‌‌on‌‌this‌‌7th‌‌day‌‌of‌‌June,‌‌2021,‌‌I‌‌electronically‌‌filed‌‌the‌‌foregoing‌‌

Motion‌‌and‌‌proposed‌‌Order‌‌with‌‌the‌‌Clerk‌‌of‌‌Court‌‌using‌‌the‌‌CM‌‌/‌‌ECF‌‌system,‌‌which‌‌will‌‌send‌‌

an‌‌electronic‌‌notification‌‌of‌‌such‌‌filing‌‌to‌‌all‌‌counsel‌‌of‌‌record.‌ ‌

                                                                _________‌/s/‌____________‌ ‌
                                                                Pat‌‌Munroe‌‌Woodward,‌‌Esq.‌ ‌
